                  Case 24-10160-CTG             Doc 63       Filed 02/06/24        Page 1 of 3




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:                                                  Chapter 11

    NANOSTRING TECHNOLOGIES, INC.,                          Case No. 24-10160 (CTG)

                               Debtor.                      Tax ID: XX-XXXXXXX


    In re:                                                  Chapter 11

    NANOSTRING TECHNOLOGIES                                 Case No. 24-10161 (CTG)
    INTERNATIONAL, INC.,
                                                            Tax ID: XX-XXXXXXX
                               Debtor.


    In re:                                                  Chapter 11

    NANOSTRING TECHNOLOGIES                                 Case No. 24-10163 (CTG)
    GERMANY GMBH,
                                                            Tax ID: N/A
                               Debtor.


    In re:                                                  Chapter 11

    NANOSTRING TECHNOLOGIES                                 Case No. 24-10162 (CTG)
    NETHERLANDS B.V.,
                                                            Tax ID: N/A
                               Debtor.


                           ORDER AUTHORIZING JOINT
                ADMINISTRATION OF THE DEBTORS’ CHAPTER 11 CASES

         Upon the motion (the “Motion”) 1 of the debtors and debtors in possession in the above-

captioned cases (collectively, the “Debtors”) for entry of an order, pursuant to section 105(a) of

the Bankruptcy Code, Bankruptcy Rule 1015(b), and Local Rule 1015-1, authorizing the joint


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     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.
               Case 24-10160-CTG         Doc 63      Filed 02/06/24    Page 2 of 3




administration of the Debtors’ Chapter 11 Cases; and upon consideration of the Motion and all of

the pleadings related thereto, including the First Day Declaration; and due and proper notice of the

Motion having been given; and having determined that no other or further notice of the Motion is

required; and having determined that this Court has jurisdiction to consider the Motion in

accordance with 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from

the United States District Court for the District of Delaware, dated as of February 29, 2012; and

having determined that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and having

determined that venue of these Chapter 11 Cases and the Motion is proper pursuant to 28 U.S.C.

§§ 1408 and 1409; and upon the record of the hearing held on the Motion; and due and sufficient

notice of the Motion having been given; and it appearing that no other or further notice need be

provided; and it appearing that the relief requested by the Motion is in the best interests of the

Debtors’ estates and their creditors; and after due deliberation and sufficient cause appearing

therefor,

       IT IS HEREBY ORDERED THAT:

       1.      The Motion is GRANTED to the extent set forth herein.

       2.      The Chapter 11 Cases shall be consolidated for procedural purposes only and shall

be jointly administered in accordance with the provisions of Bankruptcy Rule 1015 and Local Rule

1015-1.

       3.      The Clerk of this Court shall maintain one file and one docket for all of the Chapter

11 Cases, which file and docket shall be the file and docket for the Chapter 11 Case of Debtor

NanoString Technologies, Inc., Case No. 24-10160 (CTG).

       4.      All pleadings filed in these Chapter 11 Cases shall bear a consolidated caption in

the following form:



                                                 2
                  Case 24-10160-CTG             Doc 63       Filed 02/06/24        Page 3 of 3




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:                                                   Chapter 11

    NANOSTRING TECHNOLOGIES, INC.,                           Case No. 24-10160 (CTG)
    et al.,1
                                                             (Jointly Administered)
                               Debtors.


1    The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification
     numbers, to the extent applicable, are NanoString Technologies, Inc. (4687), NanoString Technologies
     International, Inc. (2723), NanoString Technologies Netherlands B.V., and NanoString Technologies Germany
     GmbH. The Debtors’ headquarters is located at 530 Fairview Avenue North, Suite 2000, Seattle, WA 98109.

         5.       All original pleadings shall be captioned as indicated in paragraph 4 and the Clerk

of this Court shall make docket entries in the docket of each of these Chapter 11 Cases, other than

the Chapter 11 Case of NanoString Technologies, Inc., substantially as follows:

                  An order has been entered in this case in accordance with
                  Bankruptcy Rule 1015(b) directing the procedural consolidation and
                  joint administration of the chapter 11 cases of NanoString
                  Technologies, Inc. The docket in the chapter 11 case of NanoString
                  Technologies, Inc., Case No. 24-10160 (CTG), should be consulted
                  for all matters affecting these cases.

         6.       Nothing in the Motion or this Order is intended or shall be deemed or otherwise

construed as directing or otherwise effecting a substantive consolidation of the Debtors’ estates.

         7.       This Court shall retain jurisdiction with respect to all matters arising from or related

to the implementation, interpretation, and enforcement of this Order.




        Dated: February 6th, 2024                  CRAIG T. GOLDBLATT
        Wilmington, Delaware                       UNITED STATES BANKRUPTCY JUDGE




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